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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Richmond Division)

                                         )
DAWN ANGIONE,                            )
individually and on behalf of all others )
similarly situated,                      )
                                         )
        Plaintiff,                       )
                                         )                 Case No. 3:21-cv-00344
vs.                                      )
                                         )
NATIONAL COUNSELING GROUP, INC. et al. )
                                         )
                                         )
        Defendants.                      )

                     JOINT MOTION FOR FINAL APPROVAL OF
                    FAIR LABOR STANDARDS ACT SETTLEMENT

       Plaintiff Dawn Hendricks (formerly Angione), on behalf of herself and Opt-in Plaintiffs

who timely opted into the Settlement by submitting a Consent to Join Form (collectively,

“Plaintiffs”), and Defendants National Counseling Group, Inc. and Francis A. Viera, Jr., by their

respective counsel, hereby jointly move for Final Approval of the Settlement of this Fair Labor

Standards Act (“FLSA”) collective action brought pursuant to 29 U.S.C. § 216(b).

       The Parties respectfully request that the Court: (1) find the Settlement, consisting of a

Gross Settlement Fund of $685,000.00, a fair, reasonable, and adequate resolution to the parties’

bona fide dispute of FLSA claims; (2) award service payments to service payment recipients in

the amount of $5,000.00 to Named Plaintiff Dawn Hendricks (formerly Angione), $1,000.00 to

Opt-in Plaintiffs Francisco Diaz and Victor Holley; and $600.00 to Opt-in Plaintiffs Lisa

Morisco, Keta Satchell, Elizabeth Garcia, Julia Meredith, and Lensley Eidson from the Gross

Settlement Fund; (3) award 30% of the Gross Settlement Fund to Plaintiffs’ Counsel for

attorneys’ fees, litigation expenses and costs in the amount of $205,500.00; (4) approve Claims

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Administration fees of $12,500.00 to be paid from the Gross Settlement Fund; (5) direct the

Claims Administrator to issue settlement checks to Plaintiff and Opt-in Plaintiffs, service

payments, attorneys’ fees, litigation expenses and costs consistent with the Parties’ Settlement

Agreement; and (6) dismiss the case with prejudice for Plaintiff and Opt-in Plaintiffs who

submitted Consents to Join (see ECF No. 46-2), but retain jurisdiction for enforcement of the

Settlement.

       In support of this Joint Motion, the Parties separately file a memorandum of law in

support of final approval of the Settlement.



Respectfully submitted this the 31st day of January 2022.




/s/ Molly A. Elkin                             /s/ David C. Burton
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                                             Counsel for Defendants




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of January 2022, I electronically filed the foregoing

Joint Motion for Final Approval of Fair Labor Standards Act Settlement using the CM/ECF

system, which will send a notification to attorneys of record.



                                                             /s/ Molly A. Elkin
                                                             Molly A. Elkin




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